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         Case Nos.: 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD;
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 2

 3                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
 4                                SAN FRANCISCO DIVISION
 5   IN RE GOOGLE PLAY STORE                           Case No. 3:21-md-02981-JD
     ANTITRUST LITIGATION
 6                                                     STIPULATED [PROPOSED]
     THIS DOCUMENT RELATES TO:                         FOURTH AMENDED PROTECTIVE
 7                                                     ORDER
     Match Group, LLC et al. v. Google LLC et al.,
 8   Case No. 3:22-cv-02746-JD                         Judge: Hon. James Donato
 9   Epic Games Inc. v. Google LLC et al., Case
     No. 3:20-cv-05671-JD
10
     In re Google Play Consumer Antitrust
11   Litigation, Case No. 3:20-cv-05761-JD
12   In re Google Play Developer Antitrust
     Litigation, Case No. 3:20-cv-05792-JD
13
     State of Utah et al. v. Google LLC et al., Case
14   No. 3:21-cv-05227-JD
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                                                     Case Nos.: 3:21-md-02981-JD; 3:20-cv-05671-
28                                                   JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-
                                                     cv-05227-JD; 3:22-cv-02746-JD
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 1   1.      PURPOSES AND LIMITATIONS

 2           Disclosure and discovery activity in this action are likely to involve production of

 3   confidential, proprietary, or private information for which special protection from public

 4   disclosure and from use for any purpose other than prosecuting this litigation may be warranted.

 5           On May 25, 2022, the Court entered a Stipulated Third Amended Protective Order that

 6   governs materials designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –

 7   ATTORNEYS’ EYES ONLY” in Case No. 3:21-md-02981-JD, Dkt. No. 249; Case No. 3:20-

 8   cv-05671-JD, Dkt. No. 262; Case No. 3:20-cv-05761-JD, Dkt. No. 278; Case No. 3:20-cv-

 9   05792- JD, Dkt. No. 211; Case No. 3:21-cv-05227-JD, Dkt. No. 267, Case No. 3:22-cv-02746-

10   JD, Dkt. No. 36 (the “Third Amended Protective Order”).

11           Since that time, the Parties have agreed to allow each Party to designate one additional

12   House Counsel who may be provided access to “HIGHLY CONFIDENTIAL – ATTORNEYS’

13   EYES ONLY” information in this matter.

14           Accordingly, the Parties hereby stipulate to and petition the Court to enter the following

15   Stipulated Fourth Amended Protective Order (“Protective Order”), which amends Section 2.4 of

16   the Third Amended Protective Order to allow up to three Designated House Counsel to access

17   information designated as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”

18   information in this matter. The Parties acknowledge that this Order does not confer blanket

19   protections on all disclosures or responses to discovery and that the protection it affords from

20   public disclosure and use extends only to the limited information or items that are entitled to

21   confidential treatment under the applicable legal principles. The Parties further acknowledge, as

22   set forth in Section 14.4, below, that this Protective Order does not entitle them to file

23   confidential information under seal; Civil Local Rule 79-5 sets forth the procedures that must

24   be followed and the standards that will be applied when a Party seeks permission from the

25   Court to file material under seal.

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28                                                       Case Nos.: 3:21-md-02981-JD; 3:20-cv-
                                                         05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-
                                                         JD; 3:21-cv-05227-JD; 3:22-cv-02746-JD
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 1   2.      DEFINITIONS

 2           2.1       Challenging Party: a Party or Non-Party that challenges the designation of

 3   information or items under this Order.

 4           2.2       “CONFIDENTIAL” Information or Items: information (regardless of how it is

 5   generated, stored or maintained) or tangible things that qualify for protection under Federal Rule

 6   of Civil Procedure 26(c).

 7           2.3       Counsel (without qualifier): State AGO Attorneys, Outside Counsel of Record,

 8   and House Counsel (as well as their support staff).

 9           2.4       Designated House Counsel: For each Party, up to three House Counsel who may

10   be provided access to “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” information

11   in this matter.

12           2.5       Designating Party: a Party or Non-Party that designates information or items that it

13   produces in disclosures or in responses to discovery as “CONFIDENTIAL,” “HIGHLY

14   CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or “NON-PARTY HIGHLY

15   CONFIDENTIAL – OUTSIDE COUNSEL EYES ONLY” (as defined in the Amended Non-

16   Party Protective Order).

17           2.6       Disclosure or Discovery Material: all items or information, regardless of the

18   medium or manner in which it is generated, stored, or maintained (including, among other things,

19   testimony, transcripts, and tangible things), that are produced or generated in disclosures or

20   responses to discovery in this matter.

21           2.7       Expert: a person with specialized knowledge or experience in a matter pertinent to

22   the Litigation who: (1) has been retained by a Party or its counsel to serve as an expert witness or

23   as a consultant in this action; (2) is not a current employee or current business consultant of a

24   Party or of a Party’s competitor, or otherwise currently involved in competitive decision-making

25   for a Party or a Party's competitor; (3) has not, within the 12 months preceding the entry of this

26   Protective Order, been an employee or business consultant of a Party or a Party’s competitor, or

27   otherwise been involved in competitive decision-making for a Party or a Party's competitor; and
                                                         Case Nos.: 3:21-md-02981-JD; 3:20-cv-05671-
28                                                       JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-
                                                         cv-05227-JD; 3:22-cv-02746-JD
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 1   (4) at the time of retention, is not anticipated to become an employee or business consultant of a

 2   Party or a Party’s competitor, or to be otherwise involved in competitive decision-making for a

 3   Party or a Party's competitor. If, while this action is pending, a Party learns that any of its

 4   retained experts or consultants as defined herein is anticipating to become, or has become, an

 5   employee or business consultant of a Party or a Party’s competitor, or otherwise involved in

 6   competitive decision-making for a Party or a Party’s competitor, the Party learning such

 7   information shall promptly disclose the information to the other Parties.

 8          2.8     “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” Information or

 9   Items: extremely sensitive “Confidential Information or Items,” disclosure of which to another

10   Party or Non-Party would create a substantial risk of serious harm that could not be avoided by

11   less restrictive means.

12          2.9     House Counsel: attorneys who are members in good standing of at least one state

13   bar, who are employees of a Party, or a Party’s affiliate, and who have responsibility for

14   managing this action. House Counsel does not include Outside Counsel of Record, any other

15   outside counsel, or State AGO Attorneys.

16          2.10    Non-Party: any natural person, partnership, corporation, association, or other legal

17   entity not named as a Party to this action.

18          2.11    Outside Counsel of Record: attorneys who are not employees of a Party but are

19   retained to represent or advise a Party and have appeared in this action on behalf of that Party or

20   are affiliated with a law firm which has appeared on behalf of that Party.

21          2.12    Party: any party to this action, including all of its officers, directors, employees,

22   consultants, retained experts, Outside Counsel of Record (and their support staffs), and State

23   AGO Attorneys.

24          2.13    Plaintiff States or States: states, commonwealths, territories, or districts within the

25   United States that are plaintiffs in the action styled State of Utah, et al. v. Google LLC, et al., No.

26   3:21-cv-05227-JD.

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28                                                     JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-
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 1           2.14   Producing Party: a Party or Non-Party that produces Disclosure or Discovery

 2   Material in this action.

 3           2.15   Professional Vendors: persons or entities who are not employees of a Party but are

 4   retained to provide litigation support services (e.g., photocopying, videotaping, translating,

 5   preparing exhibits or demonstrations, and organizing, storing, reviewing or retrieving documents

 6   or data in any form or medium and their employees and subcontractors).

 7           2.16   Protected Material: any Disclosure or Discovery Material that is designated as

 8   “CONFIDENTIAL,” that is designated as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES

 9   ONLY,” or that is designated under the Amended Non-Party Protective Order as “NON-PARTY

10   HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL EYES ONLY.”

11           2.17   Receiving Party: a Party that receives Disclosure or Discovery Material.

12           2.18   State AGO Attorneys: attorneys employed by the Plaintiff States’ attorneys

13   general offices (including retained attorneys and contract attorneys), as well as their support staff,

14   where the attorneys and support staff have access to internal State attorneys general office

15   information technology systems in the ordinary course of their employment responsibilities and

16   have been informed of their obligations to comply with this agreement. The obligation to inform

17   support staff is met once a state AGO attorney informs a supervising member of the support staff

18   about the obligations of this agreement.

19   3.      SCOPE
20           The protections conferred by this Stipulation and Order cover not only Protected

21   Material (as defined above), but also (1) any information copied or extracted from Protected

22   Material; (2) all copies, excerpts, summaries, or compilations of Protected Material; and (3) any

23   testimony, conversations, or presentations by Parties or their Counsel that might reveal

24   Protected Material. However, the protections conferred by this Stipulation and Order do not

25   cover the following information: (a) any information that is in the public domain at the time of

26   disclosure to a Receiving Party or becomes part of the public domain after its disclosure to a

27
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 1   Receiving Party as a result of publication not involving a violation of this Order, including

 2   becoming part of the public record through trial or otherwise; and (b) any information known to

 3   the Receiving Party prior to the disclosure or obtained by the Receiving Party after the

 4   disclosure from a source who obtained the information lawfully and under no obligation of

 5   confidentiality to the Designating Party. In addition, nothing in this Protective Order alters the

 6   rights and obligations of the parties under the confidentiality agreements or other protective

 7   orders pursuant to which some Defendants produced documents in response to civil

 8   investigative demands by certain States, except as modified by the Stipulation and Order re:

 9   Documents Google Produced to the States in Response to Civil Investigative Demands (Case

10   3:21-md-02981, Dkt. #109). Any use of Protected Material at trial shall be governed by a

11   separate agreement or order.

12   4.      DURATION
13           Even after final disposition of this Litigation, the confidentiality obligations imposed by

14   this Order shall remain in effect until a Designating Party agrees otherwise in writing or a Court

15   order otherwise directs. Final disposition shall be deemed to be the later of (1) dismissal of all

16   claims and defenses in this action, with or without prejudice; or (2) entry of a final judgment

17   herein after the completion and exhaustion of all appeals, rehearings, remands, trials, or reviews

18   of this action, including the time limits for filing any motions or applications for extension of time

19   pursuant to applicable law.

20   5.      DESIGNATING PROTECTED MATERIAL
21           5.1    Exercise of Restraint and Care in Designating Material for Protection. Each Party

22   or Non-Party that designates information or items for protection under this Order must take care

23   to limit any such designation to specific material that qualifies under the appropriate standards. At

24   the reasonable request of any Party, the Designating Party must designate for protection, in a

25   specific document or set of documents, only those parts that qualify for protection under this

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 1   Order, so that other portions of the material, documents, items, or communications for which

 2   protection is not warranted are not swept unjustifiably within the ambit of this Order.

 3          Mass, indiscriminate, or routinized designations are prohibited. Designations that are

 4   shown to be clearly unjustified or that have been made for an improper purpose (e.g., to

 5   unnecessarily encumber or retard the case development process or to impose unnecessary

 6   expenses and burdens on other Parties) expose the Designating Party to sanctions.

 7          If it comes to a Designating Party’s attention that information or items that it designated

 8   for protection do not qualify for protection at all or do not qualify for the level of protection

 9   initially asserted, that Designating Party must promptly notify all other Parties that it is

10   withdrawing the mistaken designation.

11          5.2     Manner and Timing of Designations. Except as otherwise provided in this Order

12   (see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated or ordered,

13   Disclosure or Discovery Material that qualifies for protection under this Order must be clearly so

14   designated before the material is disclosed or produced.

15          Designation in conformity with this Order requires:

16                  (a)     for information in documentary form (e.g., paper or electronic documents,

17   but excluding transcripts of depositions or other pretrial or trial proceedings), that the Producing

18   Party affix the legend “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’

19   EYES ONLY,” or “NON-PARTY HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL EYES

20   ONLY” to each page that contains protected material.

21          A Party or Non-Party that makes original documents or materials available for inspection

22   need not designate them for protection until after the inspecting Party has indicated which

23   material it would like copied and produced. During the inspection and before the designation, all

24   of the material made available for inspection shall be deemed “HIGHLY CONFIDENTIAL –

25   ATTORNEYS’ EYES ONLY.” After the inspecting Party has identified the documents it wants

26   copied and produced, the Producing Party must determine which documents, or portions thereof,

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 1   qualify for protection under this Order. Then, before producing the specified documents, the

 2   Producing Party must affix the appropriate legend (“CONFIDENTIAL,” “HIGHLY

 3   CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or “NON-PARTY HIGHLY

 4   CONFIDENTIAL – OUTSIDE COUNSEL EYES ONLY”) to each page that contains Protected

 5   Material.

 6                  (b)     for testimony given in deposition or in other pretrial or trial proceedings,

 7   that the Designating Party identify on the record, before the close of the deposition, hearing, or

 8   other proceeding, all protected testimony and specify the level of protection being asserted. When

 9   it is impractical to identify separately each portion of testimony that is entitled to protection and it

10   appears that substantial portions of the testimony may qualify for protection, the Designating

11   Party may invoke on the record (before the deposition, hearing, or other proceeding is concluded)

12   a right to have up to 21 days after the transcript of the proceedings becomes available to identify

13   the specific portions of the testimony as to which protection is sought and to specify the level of

14   protection being asserted. Only those portions of the testimony that are appropriately designated

15   for protection within the 21 days shall be covered by the provisions of this Third Amended

16   Protective Order. Alternatively, a Designating Party may specify, at the deposition or up to 21

17   days afterwards if that period is properly invoked, that the entire transcript shall be treated as

18   “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or “NON-

19   PARTY HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL EYES ONLY.”

20          The use of a document as an exhibit at a deposition shall not in any way affect its

21   designation as “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES

22   ONLY,” or “NON-PARTY HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL EYES

23   ONLY.”

24          Transcripts containing Protected Material shall have an obvious legend on the title page

25   that the transcript contains Protected Material, and the title page shall be followed by a list of all

26   pages (including line numbers as appropriate) that have been designated as Protected Material

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     and the level of protection being asserted by the Designating Party. The Designating Party shall
 2
     inform the court reporter of these requirements. Any transcript that is prepared before the
 3
     expiration of a 21-day period for designation shall be treated during that period as if it had been
 4
     designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” in its entirety unless
 5
     otherwise agreed. After the expiration of that period, the transcript shall be treated only as
 6
     actually designated.
 7
                    (c)     for information produced in some form other than documentary and for any
 8
     other tangible items, that the Producing Party affix in a prominent place on the exterior of the
 9
     container or containers in which the information or item is stored the legend “CONFIDENTIAL,”
10
     “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or “NON-PARTY HIGHLY
11
     CONFIDENTIAL – OUTSIDE COUNSEL EYES ONLY.” If affixing the appropriate legend on
12
     a container is not feasible, the Designating Party shall find another means to identify the
13
     information, for example through a cover letter or other communication.
14
            5.3     Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to
15
     designate qualified information or items does not, standing alone, waive the Designating Party’s
16
     right to secure protection under this Order for such material. Upon timely correction of a
17
     designation, the Receiving Party must make reasonable efforts to assure that the material is
18
     treated in accordance with the provisions of this Order.
19
     6.     CHALLENGING CONFIDENTIALITY DESIGNATIONS
20
            6.1     Timing of Challenges. Any Party or Non-Party may challenge a designation of
21
     confidentiality at any time. Unless a prompt challenge to a Designating Party’s confidentiality
22
     designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic
23
     burdens, or a significant disruption or delay of the Litigation, a Party does not waive its right to
24
     challenge a confidentiality designation by electing not to mount a challenge promptly after the
25
     original designation is disclosed.
26

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 1          6.2     Meet and Confer. The Challenging Party shall initiate the dispute resolution

 2   process by providing written notice of each designation it is challenging and describing the basis

 3   for each challenge. To avoid ambiguity as to whether a challenge has been made, the written

 4   notice must recite that the challenge to confidentiality is being made in accordance with this

 5   specific paragraph of the Protective Order. The Parties shall attempt to resolve each challenge in

 6   good faith and must begin the process by conferring directly (in voice to voice dialogue; other

 7   forms of communication are not sufficient) within 14 days of the date of service of notice. In

 8   conferring, the Challenging Party must explain the basis for its belief that the confidentiality

 9   designation was not proper and must give the Designating Party an opportunity to review the

10   designated material, to reconsider the circumstances, and, if no change in designation is offered,

11   to explain the basis for the chosen designation. A Challenging Party may proceed to the next

12   stage of the challenge process only if it has engaged in this meet and confer process first or

13   establishes that the Designating Party is unwilling to participate in the meet and confer process in

14   a timely manner.

15          6.3     Judicial Intervention. If the Parties cannot resolve a challenge without Court

16   intervention, the Challenging Party shall file and serve a motion to re-designate or de-designate

17   under Civil Local Rule 7 (and in compliance with Civil Local Rule 79-5, if applicable) within 14

18   days of the Parties agreeing that the meet and confer process will not resolve their dispute. Each

19   such motion must be accompanied by a competent declaration affirming that the movant has

20   complied with the meet and confer requirements imposed in the preceding paragraph.

21          The burden of persuasion in any such challenge proceeding shall be on the Designating

22   Party. Frivolous challenges and those made for an improper purpose (e.g., to harass or impose

23   unnecessary expenses and burdens on other Parties) may expose the Challenging Party to

24   sanctions. All Parties shall continue to afford the material in question the level of protection to

25   which it is entitled under the Designating Party’s designation until the Court rules on the

26   challenge.

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 1   7.      ACCESS TO AND USE OF PROTECTED MATERIAL

 2           7.1    Basic Principles. A Receiving Party may use Protected Material that is disclosed or

 3   produced by another Party or by a Non-Party in connection with this case only for prosecuting,

 4   defending, or attempting to settle this Litigation, and such Protected Material shall not be used for

 5   any other business purpose, in connection with any other legal proceeding, or for any other

 6   purpose whatsoever. Such Protected Material may be disclosed only to the categories of persons

 7   and under the conditions described in this Order. 1 When the litigation has been terminated, a

 8   Receiving Party must comply with the provisions of section 15 below (FINAL DISPOSITION).

 9           The parties understand that some of the State AGO Attorneys prosecuting this matter are

10   also prosecuting antitrust enforcement actions against some Defendants in other venues. Nothing

11   in this Order or the Stipulated Supplemental Protective Order Governing Production of Protected

12   Non-Party Materials (Case No. 3:21-md-02981-JD (N.D. Cal.), ECF No. 44), including as

13   amended, precludes State AGO Attorneys with access to information subject to this Protective

14   Order from prosecuting such other actions, so long as they comply with their obligations under

15   this Protective Order and any protective orders or confidentiality agreements governing such

16   other actions. To prevent inadvertent disclosure, Discovery Materials produced to States in this

17   case will be housed in a separate database only accessed by State AGO Attorney.

18           Protected Material must be stored and maintained by a Receiving Party at a location and

19   in a secure manner that ensures that access is limited to the persons authorized under this Order.

20           7.2    Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise ordered

21   by the Court or permitted in writing by the Designating Party, a Receiving Party may disclose any

22   information or item designated “CONFIDENTIAL” only to:

23
     1
       In the event a Non-Party witness is authorized to receive Protected Material that is to be used
24   during his/her deposition but is represented by an attorney not authorized under this Order to
     receive such Protected Material, the attorney must provide prior to commencement of the
25   deposition an executed “Acknowledgment and Agreement to Be Bound” in the form attached
     hereto as Exhibit A. In the event such attorney declines to sign the “Acknowledgment and
26   Agreement to Be Bound” prior to the examination, the Parties, by their attorneys, shall jointly
     seek a protective order from the Court prohibiting the attorney from disclosing Protected Material
27   in order for the deposition to proceed.
                                                      Case Nos.: 3:21-md-02981-JD; 3:20-cv-05671-
28                                                    JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-
                                                      cv-05227-JD; 3:22-cv-02746-JD
                     STIPULATED [PROPOSED] FOURTH AMENDED PROTECTIVE ORDER
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 1                  (a)     the Receiving Party’s Outside Counsel of Record in this action, as well as

 2   employees of said Outside Counsel of Record to whom it is reasonably necessary to disclose the

 3   information for this litigation and who have signed the “Acknowledgment and Agreement to Be

 4   Bound” (Exhibit A);

 5                  (b)     State AGO Attorneys who have appeared on behalf of Plaintiff States in

 6   this litigation, who are actively prosecuting the Litigation, or to whom it is reasonably necessary

 7   to disclose the information for purposes of this litigation; State AGO Attorneys who have

 8   appeared will maintain a list of Attorneys as well as supervisors of support staff subject to this

 9   section;

10                  (c)     the officers, directors, and employees (including House Counsel) of the

11   Receiving Party to whom disclosure is reasonably necessary because they either have

12   responsibility for making decisions dealing directly with the litigation in this action or are

13   assisting outside counsel in preparation for proceedings in this action, and who have signed the

14   “Acknowledgment and Agreement to Be Bound” (Exhibit A);

15                  (d)     Experts (as defined in this Order) of the Receiving Party to whom

16   disclosure is reasonably necessary for this litigation and who have signed the “Acknowledgment

17   and Agreement to Be Bound” (Exhibit A);

18                  (e)     the Court and its personnel;

19                  (f)     stenographic reporters, videographers and their respective staff,

20   professional jury or trial consultants, and Professional Vendors to whom disclosure is reasonably

21   necessary for this Litigation and who have signed the “Acknowledgment and Agreement to Be

22   Bound” (Exhibit A);

23                  (g)     during their depositions, witnesses in the action that are not otherwise

24   authorized to receive CONFIDENTIAL Information pursuant to Section 7.2(a)-(f) or (h)-(i) to

25   whom disclosure is reasonably necessary and who have signed the “Acknowledgment and

26   Agreement to Be Bound” (Exhibit A), unless the Designating Party objects to such disclosure or

27
                                                       Case Nos.: 3:21-md-02981-JD; 3:20-cv-05671-
28                                                     JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-
                                                       cv-05227-JD; 3:22-cv-02746-JD
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 1   except as otherwise ordered by the Court. Receiving Parties shall give the Designating Party

 2   reasonable notice if they expect to provide a witness, during a deposition, with Protected Material

 3   pursuant to this Section 7.2(g). Pages of transcribed deposition testimony or exhibits to

 4   depositions that reveal Protected Material must be separately bound by the court reporter and may

 5   not be disclosed to anyone except as permitted under this Order.

 6                  (h)     the author or recipient of a document containing the information or a

 7   custodian or other person who otherwise possessed or knew the information; and

 8                  (i)     any current employee of the Designating Party.

 9          7.3     Disclosure of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”

10   Information or Items. Unless otherwise ordered by the Court or permitted in writing by the

11   Designating Party, a Receiving Party may disclose any information or item designated “HIGHLY

12   CONFIDENTIAL – ATTORNEYS’ EYES ONLY” only to:

13                  (a)     the Receiving Party’s Outside Counsel of Record in this action, as well as

14   employees of Outside Counsel of Record to whom it is reasonably necessary to disclose the

15   information for this Litigation and who have signed the “Acknowledgment and Agreement to Be

16   Bound” (Exhibit A);

17                  (b)     State AGO Attorneys who have appeared on behalf of Plaintiff States in

18   this Litigation, who are actively prosecuting the Litigation, or to whom it is reasonably necessary

19   to disclose the information for purposes of this Litigation; State AGO Attorneys who have

20   appeared will maintain a list of Attorneys as well as supervisors of support staff subject to this

21   section;

22                  (c)     Designated House Counsel of the Receiving Party (i) who has no

23   involvement in competitive decision-making, (ii) to whom disclosure is reasonably necessary for

24   this litigation, (iii) who has signed the “Acknowledgment and Agreement to Be Bound” that is

25   attached hereto as Exhibit A, and (iv) as to whom, at least 14 days prior to the disclosure of any

26   “HIGHLY CONFIDENTIAL—ATTORNEYS’ EYES ONLY” information, the Party that seeks

27
                                                      Case Nos.: 3:21-md-02981-JD; 3:20-cv-05671-
28                                                    JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-
                                                      cv-05227-JD; 3:22-cv-02746-JD
                     STIPULATED [PROPOSED] FOURTH AMENDED PROTECTIVE ORDER
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 1   to disclose to Designated House Counsel has disclosed to the Designating Party (1) the full name

 2   of the Designated House Counsel and the city and state of his or her primary place of work, and

 3   (2) the Designated House Counsel’s current and reasonably foreseeable future primary job duties

 4   and responsibilities in sufficient detail to determine if House Counsel is involved, or may become

 5   involved, in any competitive decision-making. If a Party objects to the Designated House

 6   Counsel, that Party must do so in writing within 14 days of the identification of the Designated

 7   House Counsel. The Parties shall meet and confer to try to resolve the matter by agreement within

 8   seven days of any such written objection. If no agreement is reached, the Designating Party may

 9   file a motion as provided in Civil Local Rule 7 (and in compliance with Civil Local Rule 79-5, if

10   applicable) objecting to the disclosure. For the avoidance of doubt, if the Designating Party has

11   moved the Court to object to the disclosure, no disclosure shall be made until the Court has ruled

12   on such objection. Documents designated as HIGHLY CONFIDENTIAL—ATTORNEYS’

13   EYES ONLY may only be transmitted to Designated House Counsel through a password-

14   protected Secured File Transfer Protocol (SFTP), and the Designated House Counsel must

15   download and store such documents in a secure location that cannot be accessed by others, and

16   shall delete them within 14 days after receipt. Additional acceptable forms of disclosure of

17   HIGHLY CONFIDENTIAL—ATTORNEYS’ EYES ONLY documents include: in-person

18   meetings where the documents remain in the possession of Outside Counsel; screen-sharing

19   technology; or through a document review platform with printing and downloading disabled.

20   Notwithstanding the foregoing, summaries, memoranda, drafts, briefs, court filings, expert

21   reports, outlines, and other attorney work product containing HIGHLY CONFIDENTIAL—

22   ATTORNEYS’ EYES ONLY Information may be transmitted to Designated House Counsel via

23   corporate/firm e-mail accounts; provided, however, exhibits to the foregoing that are HIGHLY

24   CONFIDENTIAL—ATTORNEYS’ EYES ONLY documents may not be transmitted via e-mail.

25

26

27
                                                      Case Nos.: 3:21-md-02981-JD; 3:20-cv-05671-
28                                                    JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-
                                                      cv-05227-JD; 3:22-cv-02746-JD
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 1                  (d)     Experts of the Receiving Party (1) to whom disclosure is reasonably

 2   necessary for this litigation and (2) who have signed the “Acknowledgment and Agreement to Be

 3   Bound” (Exhibit A);

 4                  (e)     the Court and its personnel;

 5                  (f)     stenographic reporters, videographers and their respective staff,

 6   professional jury or trial consultants, and Professional Vendors to whom disclosure is reasonably

 7   necessary for this litigation and who have signed the “Acknowledgment and Agreement to Be

 8   Bound” (Exhibit A); and

 9                  (g)     the author or recipient of a document containing the information or a

10   custodian or other person who otherwise possessed or knew the information; and

11                  (h)     any current employee of the Designating Party.

12          7.4     Purposefully Left Blank.

13   8.     Purposefully left blank.
14   9.     SOURCE CODE
15                  (a)     To the extent the production of source code becomes necessary, the Parties

16   reserve their rights to modify this order as necessary to protect such materials and information,

17   and the Parties shall meet and confer in good faith regarding such modifications. No Party will

18   be required to produce source code until modifications to this order relating to the protection of

19   source code have been entered by the Court.

20   10.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
            OTHER LITIGATION
21
            If a Party is served with a subpoena issued by a court, arbitral, administrative, or
22
     legislative body, or with a court order issued in other Litigation that compels disclosure of any
23
     information or items designated in this action as “CONFIDENTIAL,” “HIGHLY
24
     CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or “NON-PARTY HIGHLY
25
     CONFIDENTIAL – OUTSIDE COUNSEL EYES ONLY” that Party must:
26

27
                                                      Case Nos.: 3:21-md-02981-JD; 3:20-cv-05671-
28                                                    JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-
                                                      cv-05227-JD; 3:22-cv-02746-JD
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 1                   (a)     promptly notify in writing the Designating Party. Such notification shall

 2   include a copy of the subpoena or court order;

 3                   (b)     promptly notify in writing the person who caused the subpoena or order to

 4   issue in the other Litigation that some or all of the material covered by the subpoena or order is

 5   subject to this Protective Order. Such notification shall include a copy of this Stipulated

 6   Protective Order; and

 7                   (c)     cooperate with respect to all reasonable procedures sought to be pursued by

 8   the Designating Party whose Protected Material may be affected. 2

 9           If the Designating Party timely3 seeks a protective order, the Party served with the

10   subpoena or court order shall not produce any information designated in this action as

11   “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or “NON-

12   PARTY HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL EYES ONLY” before a

13   determination by the court or other tribunal from which the subpoena or order issued, unless the

14   Party has obtained the Designating Party’s permission. The Designating Party shall bear the

15   burden and expense of seeking protection in that court or other tribunal of its confidential material

16   – and nothing in these provisions should be construed as authorizing or encouraging a Receiving

17   Party in this action to disobey a lawful directive from another court or tribunal with appropriate

18   jurisdiction.

19           10.1    If, under any Freedom of Information Act, public records statute, or other relevant

20   law, any Protected Material is subject to any form of compulsory process in a Plaintiff State or is

21   demanded from a Plaintiff State, such State shall notify in writing the Designating Party whose

22   Protected Material may be affected within 10 business days of receiving the process or demand.

23
     2
24     The purpose of imposing these duties is to alert the interested parties to the existence of this
     Order and to afford the Designating Party in this case an opportunity to try to protect its
25   confidentiality interests in the court or other tribunal from which the subpoena or order issued.
     3
       The Designating Party shall have at least 14 days from the service of the notification pursuant to
26   Section 10(a) to seek a protective order, unless a shorter period applies under the rules of the
     Court or other tribunal from which the subpoena or order issued, in which case such rules shall
27   apply.
                                                       Case Nos.: 3:21-md-02981-JD; 3:20-cv-05671-
28                                                     JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-
                                                       cv-05227-JD; 3:22-cv-02746-JD
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 1   The State shall not produce the Protected Material in response to such compulsory process or

 2   public records request unless the State deems that it is required by law to do so and provides 10

 3   business days’ notice of its intent to do so to the Designating Party, unless a statute, court order,

 4   or another public adjudicatory body requires that the State produce the Protected Material in a

 5   shorter time frame, in which case the State will provide notice to the Designating Party as early as

 6   reasonably practicable before the expiration of that shorter time frame. However, if a State denies

 7   a public records or similar request and the denial is not challenged, the State does not need to

 8   provide notice pursuant to this paragraph. If Protected Material is requested for disclosure under a

 9   state’s public records act or the equivalent, this Order prohibits disclosure to the extent the state’s

10   public records act or the equivalent provides an exception for disclosure of information that is (a)

11   protected by court order or (b) gathered by the State in connection with investigating or

12   prosecuting potential civil or criminal violations of federal or state law. Nothing contained herein

13   shall alter or limit the obligations of a State that may be imposed by statute or court order

14   regarding the disclosure of documents and information supplied to the State.

15   11.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN
            THIS LITIGATION
16
                    (a)     The terms of this Order are applicable to information produced by a Non-
17
     Party in this action and designated as “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL –
18
     ATTORNEYS’ EYES ONLY,” or “NON-PARTY HIGHLY CONFIDENTIAL – OUTSIDE
19
     COUNSEL EYES ONLY.” Such information produced by Non-Parties in connection with this
20
     litigation is protected by the remedies and relief provided by this Order. Nothing in these
21
     provisions should be construed as prohibiting a Non-Party from seeking additional protections.
22
                    (b)     In the event that a Party is required, by a valid discovery request, to
23
     produce a Non-Party’s confidential information in its possession, and the Party is subject to an
24
     agreement with the Non-Party not to produce the Non-Party’s confidential information, then the
25
     Party shall:
26

27
                                                       Case Nos.: 3:21-md-02981-JD; 3:20-cv-05671-
28                                                     JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-
                                                       cv-05227-JD; 3:22-cv-02746-JD
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 1                           1.      promptly notify in writing the Requesting Party and the Non-Party

 2   that some or all of the information requested is subject to a confidentiality agreement with a Non-

 3   Party;

 4                           2.      promptly provide the Non-Party with a copy of the Stipulated

 5   Protective Order in this Litigation, the relevant discovery request(s), and a reasonably specific

 6   description of the information requested; and

 7                           3.      make the information requested available for inspection by the

 8   Non-Party.

 9                   (c)     If the Non-Party fails to object or seek a protective order from this Court

10   within 14 days of receiving the notice and accompanying information, the Receiving Party may

11   produce the Non-Party’s confidential information responsive to the discovery request. If the Non-

12   Party timely objects or seeks a protective order, the Receiving Party shall not produce any

13   information in its possession or control that is subject to the confidentiality agreement with the

14   Non-Party before a determination by the Court. 4 Absent a Court order to the contrary, the Non-

15   Party shall bear the burden and expense of seeking protection in this Court of its Protected

16   Material.

17   12.      UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
18            If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed Protected

19   Material to any person or in any circumstance not authorized under this Stipulated Protective

20   Order, the Receiving Party must immediately (a) notify in writing the Designating Party of the

21   unauthorized disclosures, (b) use its best efforts to retrieve all unauthorized copies of the

22   Protected Material, (c) inform the person or persons to whom unauthorized disclosures were

23   made of all the terms of this Order, and (d) request such person or persons to execute the

24   “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit A.

25
     4
26     The purpose of this provision is to alert the interested parties to the existence of confidentiality
     rights of a Non-Party and to afford the Non-Party an opportunity to protect its confidentiality
27   interests in this court.
                                                       Case Nos.: 3:21-md-02981-JD; 3:20-cv-05671-
28                                                     JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-
                                                       cv-05227-JD; 3:22-cv-02746-JD
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 1
            Unauthorized or inadvertent disclosure shall not change the confidentiality designation
 2
     status of any disclosed material or waive the right to maintain the disclosed material as
 3
     “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or
 4
     “NON-PARTY HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL EYES ONLY.” In
 5
     addition, for the avoidance of doubt, if Protected Material is disclosed to any person or in any
 6
     circumstance not authorized under this Order, the Designating Party reserves all rights to seek
 7
     further appropriate relief from the Court.
 8
     13.    PRODUCTION OF PRIVILEGED OR OTHERWISE PROTECTED MATERIAL
 9
            When a Producing Party gives notice to Receiving Parties that certain produced material is
10
     subject to a claim of privilege or other protection, the obligations of the Receiving Parties are
11
     those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). This provision is not intended to
12
     modify whatever procedure may be established in an e-discovery order that provides for
13
     production without prior privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e),
14
     the production of a privileged or work-product-protected document is not a waiver of privilege or
15
     protection from discovery in this case or in any other federal or state proceeding. For example,
16
     the mere production of privileged or work-product-protected documents in this case as part of a
17
     mass production is not itself a waiver in this case or any other federal or state proceeding.
18
     14.    MISCELLANEOUS
19
            14.1    Right to Further Relief. Nothing in this Order abridges the right of any person to
20
     seek its modification by the Court in the future. Furthermore, without application to the Court,
21
     any party that is a beneficiary of the protections of this Order may enter a written agreement
22
     releasing any other party hereto from one or more requirements of this Order even if the conduct
23
     subject to the release would otherwise violate the terms herein.
24
            14.2    Right to Assert Other Objections. By stipulating to the entry of this Order no Party
25
     waives any right it otherwise would have to object to disclosing or producing any information or
26

27
                                                      Case Nos.: 3:21-md-02981-JD; 3:20-cv-05671-
28                                                    JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-
                                                      cv-05227-JD; 3:22-cv-02746-JD
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 1   item on any ground not addressed in this Order. Similarly, no Party waives any right to object on

 2   any ground to use in evidence of any of the material covered by this Order.

 3          14.3    Export Control. Disclosure of Protected Material shall be subject to all applicable

 4   laws and regulations relating to the export of technical data contained in such Protected Material,

 5   including the release of such technical data to foreign persons or nationals in the United States or

 6   elsewhere. Upon notice that a Party seeks to remove certain Protected Material from the United

 7   States, the Producing Party shall be responsible for identifying any such controlled technical data,

 8   and the Receiving Party shall take measures necessary to ensure compliance.

 9          14.4    Filing Protected Material. Without written permission from the Designating Party

10   or a Court order secured after appropriate notice to all interested persons, a Party may not file in

11   the public record in this action any Protected Material. A Party that seeks to file under seal any

12   Protected Material must comply with Civil Local Rule 79-5. Protected Material may only be filed

13   under seal pursuant to a Court order authorizing the sealing of the specific Protected Material at

14   issue. Pursuant to Civil Local Rule 79-5, a sealing order will issue only upon a request

15   establishing that the Protected Material at issue is privileged, protectable as a trade secret, or

16   otherwise entitled to protection under the law. If a Receiving Party's request to file Protected

17   Material under seal pursuant to Civil Local Rule 79-5(e) is denied by the Court, then the

18   Receiving Party may file the Protected Material in the public record pursuant to Civil Local Rule

19   79-5(e)(2) unless otherwise instructed by the Court.

20          14.5    Agreement Upon Execution. Each of the Parties agrees to be bound by the terms of

21   this Order as of the date counsel for such party executes this Stipulated Protective Order, even if

22   prior to entry of this Order by the Court.

23   15.    FINAL DISPOSITION
24          Within 60 days after the final disposition of this action, as defined in paragraph 4, each

25   Receiving Party must return all Protected Material to the Producing Party or destroy such

26   material. As used in this subdivision, “all Protected Material” includes all copies, abstracts,

27
                                                       Case Nos.: 3:21-md-02981-JD; 3:20-cv-05671-
28                                                     JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-
                                                       cv-05227-JD; 3:22-cv-02746-JD
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 1   compilations, summaries, and any other format reproducing or capturing any of the Protected

 2   Material. Whether the Protected Material is returned or destroyed, the Receiving Party must

 3   submit a written certification to the Producing Party (and, if not the same person or entity, to the

 4   Designating Party) by the 60-day deadline that (1) identifies (by category, where appropriate) all

 5   the Protected Material that was returned or destroyed and (2) affirms that the Receiving Party has

 6   not retained any copies, abstracts, compilations, summaries or any other format reproducing or

 7   capturing any of the Protected Material. Notwithstanding this provision, Counsel are entitled to

 8   retain an archival copy of all pleadings, motions and trial briefs (including all supporting and

 9   opposing papers and exhibits thereto), written discovery requests and responses (and exhibits

10   thereto), deposition transcripts (and exhibits thereto), trial transcripts, and exhibits offered or

11   introduced into evidence at any hearing or trial, and their attorney work product which refers or is

12   related to any “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES

13   ONLY,” or “NON-PARTY HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL EYES ONLY”

14   information for archival purposes only. Any such archival copies that contain or constitute

15   Protected Material remain subject to this Order as set forth in Section 4 (DURATION).

16   Notwithstanding the foregoing in this Paragraph 15, the Plaintiff States agree to return, destroy, or

17   maintain all Protected Material in accordance with this Agreement subject to any restrictions

18   contained in any of the States’ document retention laws or policies.

19

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27
                                                       Case Nos.: 3:21-md-02981-JD; 3:20-cv-05671-
28                                                     JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-
                                                       cv-05227-JD; 3:22-cv-02746-JD
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 1   Dated: August 18, 2023                  CRAVATH, SWAINE & MOORE LLP
                                               Christine Varney (pro hac vice)
 2                                             Katherine B. Forrest (pro hac vice)
                                               Darin P. McAtee (pro hac vice)
 3                                             Gary A. Bornstein (pro hac vice)
                                               Timothy G. Cameron (pro hac vice)
 4                                             Yonatan Even (pro hac vice)
                                               Lauren A. Moskowitz (pro hac vice)
 5                                             Omid H. Nasab (pro hac vice)
                                               Justin C. Clarke (pro hac vice)
 6                                             M. Brent Byars (pro hac vice)

 7                                           FAEGRE DRINKER BIDDLE & REATH LLP
                                               Paul J. Riehle (SBN 115199)
 8
                                             Respectfully submitted,
 9
                                             By:   /s/ Lauren A. Moskowitz
10                                                 Lauren A. Moskowitz
11                                                 Counsel for Plaintiff Epic Games, Inc.
12
     Dated: August 18, 2023                  BARTLIT BECK LLP
13                                             Karma M. Giulianelli
14                                           KAPLAN FOX & KILSHEIMER LLP
                                               Hae Sung Nam
15

16                                                 Respectfully submitted,
17                                           By:   /s/ Karma Giulianelli
                                                   Karma M. Giulianelli
18
                                                   Co-Lead Counsel for the Proposed Class in
19                                                 In re Google Play Consumer Antitrust
                                                   Litigation
20

21   Dated: August 18, 2023                  PRITZKER LEVINE LLP
                                               Elizabeth C. Pritzker
22
                                             Respectfully submitted,
23
                                             By:   /s/ Elizabeth Pritzker
24                                                 Elizabeth C. Pritzker
25                                                 Liaison Counsel for the Proposed Class in
                                                   In re Google Play Consumer Antitrust
26                                                 Litigation
27
                                                   Case Nos.: 3:21-md-02981-JD; 3:20-cv-05671-
28                                                 JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-
                                                   cv-05227-JD; 3:22-cv-02746-JD
                  STIPULATED [PROPOSED] FOURTH AMENDED PROTECTIVE ORDER
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 1   Dated: August 18, 2023                  HAGENS BERMAN SOBOL SHAPIRO LLP
                                               Steve W. Berman
 2                                             Robert F. Lopez
                                               Benjamin J. Siegel
 3
                                             SPERLING & SLATER PC
 4                                             Joseph M. Vanek
                                               Eamon P. Kelly
 5                                             Alberto Rodriguez

 6
                                             Respectfully submitted,
 7
                                             By:   /s/ Steve Berman
 8                                                 Steve W. Berman
 9                                                 Co-Lead Interim Class Counsel for the
                                                   Developer Class and Attorneys for Plaintiff
10                                                 Pure Sweat Basketball
11

12   Dated: August 18, 2023                  HAUSFELD LLP
                                               Bonny E. Sweeney
13                                             Melinda R. Coolidge
                                               Katie R. Beran
14                                             Scott A. Martin
                                               Irving Scher
15

16                                           Respectfully submitted,
17                                           By:   /s/ Bonny Sweeney
                                                   Bonny E. Sweeney
18
                                                   Co-Lead Interim Class Counsel for the
19                                                 Developer Class and Attorneys for Plaintiff
                                                   Peekya App Services, Inc.
20

21   Dated: August 18, 2023                  OFFICE OF THE UTAH ATTORNEY
                                             GENERAL
22                                             Brendan P. Glackin
23
                                             Respectfully submitted,
24

25

26

27
                                                   Case Nos.: 3:21-md-02981-JD; 3:20-cv-05671-
28                                                 JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-
                                                   cv-05227-JD; 3:22-cv-02746-JD
                  STIPULATED [PROPOSED] FOURTH AMENDED PROTECTIVE ORDER
     Case 3:20-cv-05792-JD Document 267 Filed 08/18/23 Page 25 of 28



 1
                                             By:  /s/ Brendan P. Glackin
 2                                                Brendan P. Glackin
                                             Counsel for Utah and the Plaintiff States
 3

 4
     Dated: August 18, 2023                  HUESTON HENNIGAN LLP
 5                                             John C. Hueston
                                               Douglas J. Dixon
 6                                             Joseph A. Reiter
                                               Michael K. Acquah
 7                                             William M. Larsen
                                               Julia L. Haines
 8
                                             Respectfully submitted,
 9
                                             By:    /s/ Douglas J. Dixon
10                                                  Douglas J. Dixon
                                             Counsel for Match Group, LLC; Humor Rainbow,
11                                           Inc.; PlentyofFish Media ULC; and People
                                             Media, Inc.
12

13   Dated: August 18, 2023                  MORGAN, LEWIS & BOCKIUS LLP
                                               Brian C. Rocca
14                                             Sujal J. Shah
                                               Michelle Park Chiu
15                                             Minna L. Naranjo
                                               Rishi P. Satia
16

17                                           Respectfully submitted,
18
                                             By:   /s/ Brian Rocca
19                                                 Brian C. Rocca
20                                           Counsel for Defendants Google LLC et al.
21
     Dated: August 18, 2023                  MUNGER, TOLLES & OLSON LLP
22                                             Glenn D. Pomerantz
                                               Kuruvilla Olasa
23                                             Emily C. Curran-Huberty
                                               Jonathan I. Kravis
24                                             Justin P. Raphael
                                               Kyle W. Mach
25
                                             Respectfully submitted,
26

27
                                                   Case Nos.: 3:21-md-02981-JD; 3:20-cv-05671-
28                                                 JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-
                                                   cv-05227-JD; 3:22-cv-02746-JD
                  STIPULATED [PROPOSED] FOURTH AMENDED PROTECTIVE ORDER
      Case 3:20-cv-05792-JD Document 267 Filed 08/18/23 Page 26 of 28



 1                                               By:   /s/ Glenn Pomerantz
                                                       Glenn D. Pomerantz
 2
                                                 Counsel for Defendants Google LLC et al. in In
 3                                               re Google Play Consumer Antitrust Litig.; In re
                                                 Google Play Developer Antitrust Litig.; Epic
 4                                               Games, Inc. v. Google LLC et al.; State of Utah et
                                                 al. v. Google LLC et al.
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12                                               ORDER

13        Pursuant to stipulation, it is so ordered.
14

15   DATED:                                                                                   ________
                                              HON. JAMES DONATO
16                                            United States District Court Judge

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                                                    Case Nos.: 3:21-md-02981-JD; 3:20-cv-05671-
28                                                  JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-
                                                    cv-05227-JD; 3:22-cv-02746-JD
                   STIPULATED [PROPOSED] FOURTH AMENDED PROTECTIVE ORDER
      Case 3:20-cv-05792-JD Document 267 Filed 08/18/23 Page 27 of 28



 1                                      E-FILING ATTESTATION

 2          I, Minna L Naranjo, am the ECF User whose ID and password are being used to file

 3   this document. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that each of the

 4   signatories identified above has concurred in this filing.

 5
                                                _________/s/ Minna L. Naranjo________________
 6                                                         Minna L. Naranjo
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                                                      Case Nos.: 3:21-md-02981-JD; 3:20-cv-05671-
28                                                    JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-
                                                      cv-05227-JD; 3:22-cv-02746-JD
                     STIPULATED [PROPOSED] FOURTH AMENDED PROTECTIVE ORDER
       Case 3:20-cv-05792-JD Document 267 Filed 08/18/23 Page 28 of 28



 1                                                    EXHIBIT A

 2           ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

 3           I, _____________________________ [print or type full name], of _________________ [print or

 4   type full address], declare under penalty of perjury that I have read in its entirety and understand the

 5   Stipulated Protective Order that was issued by the United States District Court for the Northern District of

 6   California on [date] in the case of ___________ [insert formal name of the case and the number and

 7   initials assigned to it by the court]. I agree to comply with and to be bound by all the terms of this

 8   Stipulated Protective Order and I understand and acknowledge that failure to so comply could expose me

 9   to sanctions and punishment in the nature of contempt. I solemnly promise that I will not disclose in any

10   manner any information or item that is subject to this Stipulated Protective Order to any person or entity

11   except in strict compliance with the provisions of this Order.

12           I further agree to submit to the jurisdiction of the United States District Court for the Northern

13   District of California for the purpose of enforcing the terms of this Stipulated Protective Order, even if

14   such enforcement proceedings occur after termination of this action.

15           I hereby appoint __________________________ [print or type full name] of

16   _______________________________________ [print or type full address and telephone number] as my

17   California agent for service of process in connection with this action or any proceedings related to

18   enforcement of this Stipulated Protective Order.

19

20   Date: _________________________________

21   City and State where sworn and signed: _________________________________

22   Printed name: ______________________________
             [printed name]
23
     Signature: __________________________________
24
             [signature]
25

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                                                        Case Nos.: 3:21-md-02981-JD; 3:20-cv-05671-
28                                                      JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-
                                                        cv-05227-JD; 3:22-cv-02746-JD
                       STIPULATED [PROPOSED] FOURTH AMENDED PROTECTIVE ORDER
